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5

6                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
7
     THE UNITED STATES OF AMERICA,                 ) No. 2:17-cr-00060 MCE-5
8
                     Plaintiff,                    )
9
                                                   ) STIPULATION AND
            v.                                     ) ORDER MODIFYING SPECIAL CONDITIONS
10                                                 ) OF RELEASE FOR Ms. MAUNAKEA
                                                   )
11   BRITTANY MAUNAKEA,                            ) Date:
12
                                                   ) Time:
                     Defendant.                    ) Judge: Hon. Magistrate Deborah Barnes
13   ================================)
14
            The parties, including Pre-Trial Services Officer Steve Sheehan, previously stipulated that
15

16
     Ms. Maunakea enter the Mather Program’s one-year residential treatment program (through the

17   Volunteers of America). [See ECF 67, dated August 11, 2017.] However, the housing had pest

18   problems that were dangerous to Ms. Maunakea’s child, so Ms. Maunakea left the program with the
19
     approval of PTS Sheehan. Ms. Maunakea now lives with her grandmother.
20
            The parties hereby stipulate to remove the condition of release that Ms. Maunakea reside at
21
     Mather Program’s one-year residential treatment program. The parties further stipulate to re-instate
22

23   original Special Condition 5, which ordered Ms. Maunakea to reside with her third-party custodian,

24   her grandmother Martha Orlando.
25
            Ms. Maunakea’s third party custody order is found at ECF document 13 and her special
26
     conditions of pre-trial release are found in ECF document 12. Original Special Condition 5 ordered
27
     Ms. Maunakea to reside with her third-party custodian, her grandmother Martha Orlando.
28




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1           Mrs. Orlando is willing to remain a third party custodian and also is agreeable to reinstate
2
     the condition ordering Maunakea to reside with her full time.
3
            The parties jointly recommend that the Court reinstate defendant's original condition of
4
     release number 5, which currently reads as: "Upon completion of residential treatment, you must
5

6    reside with your third-party custodian and not move or absent yourself from this residence for

7    more than 24 hours without the prior approval of the pretrial services officer."
8
            The parties jointly recommend that the Court delete amended Special Condition 5: "Upon
9
     completion of residential treatment, you must reside at a location approved by your pretrial
10
     services officer, and you must not move or absent yourself from this residence for more than 24
11

12
     hours without the prior approval of the pretrial services officer."

13          Additionally, the parties recommend she no longer be ordered to participate in Pre-Trial
14   Services’ cognitive behavior group, Moral Reconation Therapy (MRT). The parties request the
15
     Court to delete the previous order for Special Condition 16, which stated: "After your successful
16
     completion of residential drug treatment, you must participate in a cognitive behavioral therapy
17
     program as directed by the pretrial services officer. Such programs may include group sessions
18

19   led by a counselor or participation in a program administered by the Pretrial Services office."

20
     Dated: October 13, 2017                               Respectfully submitted,
21

22                                                         /s/ Michael D. Long
                                                           MICHAEL D. LONG
23
                                                           Attorney for Brittany Maunakea
24

25   Dated: October 13, 2017                               PHILLIP A. TALBERT
                                                           United States Attorney
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27
                                                           /s/ Jared Dolan
                                                           JARED DOLAN
28                                                         Assistant U.S. Attorney


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1                                                 ORDER
2
            GOOD CAUSE APPEARING AND HAVING BEEN SHOWN, IT IS SO ORDERED.
3
            The Court hereby orders that the Ms. Maunakea’s Special Conditions of Release (ECF
4
     Document 12) is amended as follows:
5
            Special Condition 5 shall read: "Upon completion of residential treatment, you must
6
     reside with your third-party custodian and not move or absent yourself from this residence for
7
     more than 24 hours without the prior approval of the pretrial services officer."
8

9           New Special Condition 16 is hereby deleted.

10
     Dated: October 17, 2017
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